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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                LOUISVILLE DIVISION


 BROCKMAN RIGGLE                                                                  PLAINTIFF(S)

 VS                                                            CIVIL ACTION NO. 3:13CV-273-H


 HUNTER WARFIELD, INC., et al.                                                   DEFENDANT(S)




                                             ORDER



        Counsel having notified the Court of a settlement in this case (DN#9);
        IT IS HEREBY ORDERED that this case is DISMISSED from the Court's docket with
 leave to reinstate within forty-five (45) days if the settlement is not consummated. Counsel may
 tender a supplemental order of dismissal if they so desire.

 Date: March 18, 2014




                                                          March 18, 2014


 Copies:
 All counsel
